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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                                                  Criminal Action No. 21-00107 (RDM)
                 v.

   BRUNO JOSEPH CUA


                                    NOTICE OF APPEAL

       Notice is hereby given that Defendant Bruno Joseph Cua in the above-captioned case

appeals to the United States Court of Appeals for the District of Columbia Circuit from the final

judgment and sentence entered in this action on August 22, 2023 (ECF No. 376), and all orders

and judgments merged or subsumed therein, including without limitation the Court’s finding of

guilt as to Counts 2 and 3 of Second Superseding Indictment at a stipulated bench trial on

February 24, 2023, and orders denying Mr. Cua’s motions to dismiss Counts 2 and 3. See, e.g.,

ECF No. 288 & Feb. 24, 2023 Hr’g. Tr.

                                                    Respectfully submitted,

DATED: August 22, 2023                              /s/ William E. Zapf
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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 22d day of August, 2023, I filed the foregoing with the Clerk

of the United States District Court for the District of Columbia by using the CM/ECF system,

which system I understand has provided electronic notice counsel of record.



                                             /s/ William E. Zapf
                                             William E. Zapf
